                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                      CASE NO. 3:19-cv-247

DEBRA SPANGLER & DENNIS COSTNER                       )
JR.,                                                  )
                                                      )
                Plaintiffs,                           )
                                                      )                 COMPLAINT
                                                      )
        v.                                            )
                                                      )
                                                      )
BRIDGESTONE AMERICAS, INC., & AETNA                   )
LIFE INSURANCE COMPANY                                )
                                                      )
                                                      )
                Defendants,                           )
                                                      )



COME NOW PLAINTIFFS, by and through her undersigned attorney alleges as follows against

Defendants:


                                     JURISDICTION AND VENUE
1.      This Court has jurisdiction over this matter pursuant to 29 U.S.C. § 1132(e)(1) and 28

     U.S.C. § 1331.

2.      Venue is proper in the Court under 29 U.S.C. § 1132(e)(2) and 28 U.S.C. § 1391(b)(2).

                                             PARTIES

3.      Plaintiff Debra Spangler (“Ms. Spangler”) and Dennis Costner Jr. (“Mr. Costner Jr.”) are

     both beneficiaries of The Employment Retirement Income Security Act (“E.R.I.S.A.”)

     governed group life insurance policy by their late father, Dennis Costner Sr.




                                      1
        Case 3:19-cv-00247-RJC-DCK Document 1 Filed 05/24/19 Page 1 of 7
4.        Ms. Spangler and Mr. Costner Jr. are both citizens and residents of North Carolina and

      reside in Gaston County and Cleveland County North Carolina, respectively.

5.        Defendant Bridgestone Americas, Inc., (“Bridgestone”) is a foreign corporation

      incorporated in the State of Delaware with its principal place of business in the State of

      Tennessee.

6.        Aetna Life Insurance Company (“Aetna”) is a foreign corporation incorporated in the state

      of Connecticut who provide health insurance and other employee benefit services throughout

      the United States.

                                               FACTS
7.        E.R.I.S.A. of 1974, 29 U.S.C. §§ 1001 et seq. protects the rights of employees to their

      benefits, providing an avenue for participants to recovery benefits due and to redress breaches

      of fiduciary duties arising from benefit plans. 29 U.S.C. § 1132(a).

8.        As part of compensation package, Bridgestone agreed to provide Dennis Costner Sr. a

      group insurance policy providing various coverages include Employee Optional Life Insurance

      coverage.

9.        Dennis Costner Sr. died on or about March 06, 2018 and at all relevant times herein, was

      a citizen and resident of North Carolina and Cleveland County.

10.       Upon information and belief, Aetna issued a policy on or about December 01, 2017

      designated as GP-0326406 – Life, Accidental Death & Personal Loss and Dependent Life-Full

      Time Employees of the Kings Mt./Gastonia Plant (“the Policy”).

11.       Aetna is a company that offers insurance, administrative services, and benefits plans,

      including employer-sponsored welfare benefit plans governed by E.R.I.S.A. 29 U.S.C. § 101

      et seq.




                                        2
          Case 3:19-cv-00247-RJC-DCK Document 1 Filed 05/24/19 Page 2 of 7
12.       Upon information and belief, the Policy is part of a basic employer paid life and accidental

      death & personal loss for insurance plan established and maintained by Bridgestone.

13.       For Bridgestone’s employee welfare benefit plan, Aetna acts as the third-party

      administrator; Bridgestone is responsible for paying claims and the financial risks of any

      particular policy that it sponsors.

14.       Aetna had the discretion to construe terms of the Policy, determine the available benefits

      to the Policy, and can process and administer available benefits.

15.       Dennis Costner was employed full-time by Bridgestone from on or about the year 2000

      until his death in 2018 and furthermore, a full-time teammate of the Kings Mountain Union.

16.       On December 01, 2017, a fully enforceable and executed Basic Life Insurance Beneficiary

      Designation form listed Ms. Costner and Mr. Costner Jr. as Primary Beneficiaries of the Policy.

17.       The Policy provided coverage for $90,000 and per the terms of the Policy, Ms. Spangler

      and Mr. Costner Jr. were joint beneficiaries, each entitled to 50% of the proceeds.

18.       Dennis Costner Sr. died on March 06, 2018, and both Ms. Spangler and Mr. Costner Jr.

      according to the Policy were entitled to be benefits totaling $45,000 each, respectively.

19.       However, upon information and belief, Aetna through Bridgestone’s direction paid Mrs.

      Nancy Costner, Dennis Costner’s Sr.’s wife, $90,000.

20.       Despite being the beneficiaries of the Policy, Aetna and or Bridgestone has until this point

      been unwilling to pay the proceeds of the Policy to Ms. Spangler and Mr. Costner Jr.

21.       Upon information and belief Bridgestone and Aetna has both formally or informally denied

      benefits to the Plaintiffs, and the appeal process has been exhausted.




                                       3
         Case 3:19-cv-00247-RJC-DCK Document 1 Filed 05/24/19 Page 3 of 7
22.       Bridgestone alleges that Mrs. Nancy Costner was paid the $90,000 life insurance proceeds

      from the Policy and therefore upon information and belief is unwilling to issue payment for

      the Plaintiff’s claim.

                                            COUNT 1:
                       Breach of Fiduciary Duty under ERISA (Bridgestone)

23.       Plaintiff re-alleges herein all of the above allegations.

24.       At all relevant times, Bridgestone exercised discretionary control, authority, and or

      management over the management and administration of the applicable employee welfare

      benefits plan and the Policy.

25.       At all relevant times, Bridgestone was aware that the Plaintiff’s were both intended

      beneficiaries of the Policy including the coverage for Optional Life Insurance.

26.       Bridgestone had a duty to administer the plan and the Policy solely in the interest of

      participants and beneficiaries.

27.       Bridgestone breached this duty by:

                      a) Failing to administer the E.R.I.S.A. plan and the Policy in the best interests

                          of its participants and beneficiaries including the Plaintiffs;

                      b) Denying Plaintiffs’ claim for benefits under the Optional Life Insurance

                          coverage portion of the Policy;

                      c) Misleading Plaintiffs’ by affirmatively representing that they were covered

                          under the Optional Life Insurance portion of the Policy;

                      d) Misleading Plaintiff’s by affirmative representing that Plaintiff’s had been

                          successfully enrolled in the Optional Life Insurance coverage under the

                          Policy;




                                       4
         Case 3:19-cv-00247-RJC-DCK Document 1 Filed 05/24/19 Page 4 of 7
                       e) Continuing to deduct premiums for Optional Life Insurance coverage from

                           the paycheck of Dennis Costner Sr. through the date of his death, thereby

                           affirmatively representing that Plaintiffs’ were covered for Optional Life

                           Insurance.

                       f) Misrepresenting that denying the claim for Optional Life Insurance was

                           justified because the payments were already paid to an incorrect party.

28.      As a direct and proximate result of Bridgestone breaches of its fiduciary duties, Plaintiff

      has been denied the benefits of the Optional Life Insurance coverage and has suffered damages.



                                             COUNT II:
                            Breach of Fiduciary Duty under ERISA (Aetna)

29.      Plaintiff re-alleges herein all of the above allegations.
30.      At all relevant times, Aetna exercised discretionary control, authority and/or management
      over the management and administration of the applicable employee welfare benefits plan and
      the Policy.
31.      At all relevant times, Aetna was aware that Plaintiff was an intended beneficiary of the
      Policy including the coverage for Optional Life Insurance.
32.      Aetna had a duty to administer the plan and the Policy solely in the interest of participants
      and beneficiaries, and for the exclusive purpose of providing benefits to participants and their
      beneficiaries.
33.      Aetna breached this duty by:
             a) Failing to administer the E.R.I.S.A. plan and Policy in the best interests of its
                    participants and beneficiaries including Ms. Spangler and Mr. Costner Jr.;
             b) Wrongfully denying Plaintiff’s claim for benefits under the Optional Life Insurance
                    coverage portion of the Policy;
             c) Misleading Ms. Spangler and Mr. Costner Jr. by affirmatively representing that he
                    was covered under the Optional Life Insurance portion of the Policy;




                                       5
         Case 3:19-cv-00247-RJC-DCK Document 1 Filed 05/24/19 Page 5 of 7
             d) Misleading Ms. Spangler and Mr. Costner Jr. by affirmatively representing that Ms.
                 Spangler and Mrs. Costner Jr. had been successfully enrolled in the Optional Life
                 Insurance under the policy; and
             e) Continuing to accept premiums for Optional Life Insurance coverage for Ms.
                 Spangler and Mr. Costner Jr. through the date of his death, thereby affirmatively
                 representing that Ms. Spangler and Mr. Costner Jr. were covered by Optional Life
                 Insurance.
34.      As a direct and proximate result of Aetna’s breaches of its fiduciary duties, Plaintiff’s have
      been denied the benefits of the Optional Life Insurance coverage and has suffered damages.
                                          COUNT III:
                          Violation of ERISA of § 502(a)(1)(B) by Aetna

35.      Plaintiffs re-alleges herein all of the above allegations.

36.      Plaintiffs has made a timely claim for Optional Life Insurance benefits under the Policy to

      Defendant Aetna.

37.      Plaintiffs are entitled to the benefits of the payment of the Optional Life Insurance in the

      amount of $90,000 from Aetna.

38.      Defendant Aetna’s has denied payment of the benefit of the Optional Life Insurance.

39.      Defendant Aetna’s denial of payment of the $90,000 due under the Optional Life Insurance

      is wrongful, unjustified, and improper.

40.      The Plaintiff’s exhausted the Policy’s administrative appeals process.

41.      As a direct and proximate result of Defendant Aetna denial, Plaintiff has suffered damages

      and is entitled to recover from Defendant Aetna.



WHEREFORE, Plaintiff’s pray that this Court find for the Plaintiffs and that they recover from

the Defendants jointly and severally, compensatory damages and punitive damages and equitable




                                       6
         Case 3:19-cv-00247-RJC-DCK Document 1 Filed 05/24/19 Page 6 of 7
remedies as allowed by law together with interest, pre-judgment and post judgment, costs and

reasonable attorneys’ fees as allowed by law pursuant to 29 U.S.C. § 1132(g)(1).



This the 24th of May, 2019.



                                            /s/Timothy J. Pavone_________________________
                                            Timothy J. Pavone, Esq.______________________
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                                     7
       Case 3:19-cv-00247-RJC-DCK Document 1 Filed 05/24/19 Page 7 of 7
